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AO 440 (Rev. 06/12) Summons in a Civil Action



                                     United States District Court
                                                                 for tlic

                                                       Eastern District ofTexas
 APH
 C.I
              VISTA PEAK"VENTURES, LLC



                            Pkmiiflh)
                                V.                                          Civil Action No. 2:20-cv-00091-JRG

  NANJING CEO PANDA LCD TECHNOLOGY CO.
                           LTD., et a!



                           Dc/mulanUs)


                                                 SUMMONS IN A CIVIL ACTION


To: (Dafendmfs name and address) NANJING ELECTRONICS INFORMATION INDUSTRIAL CORPORATION
                                        PRC at 20!h - 23rd Floor, China Power Information Building.
                                        37 Jianning Road, Nanjing, China 210037




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
arc the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (ii)(2) or (3) — you must serve on the plaintiff an answer to tlie attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintilTor plaintiff s attorney,
whose name and address arc:             Patrick J. Conroy                      .-.y.y-/..
                                        Bragalone Conroy PC                      "
                                        2200 Ross Avenue                     A/>..
                                        Suite 4500W                                                  /' V
                                                                                        T                /v
                                        Dallas, TX 75201



        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT



Date:         4/2/20
                                                                                            Signature ofClerk or Deputy Clerk
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